Case 1:19-cv-01034-XR Document 41-2 Filed 06/23/21 Page 1 of 4




                   Exhibit 2
          Case 1:19-cv-01034-XR Document 41-2 Filed 06/23/21 Page 2 of 4




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

HARMONY HAUS WESTLAKE, L.L.C.,          §
et al.,                                 §
                                        §
     Plaintiffs and Counter-Defendants, §
                                        §
v.                                      §          CIVIL NO. 1-20-CV-486-XR
                                        §
PARKSTONE PROPERTY OWNERS               §
ASSOCIATION, INC.,                      §
                                        §
    Defendant and Counter-Plaintiff.    §


                                      JUDGMENT

         On this day, after all legal prerequisites have been complied with, the Court

considered Defendant’s (Parkstone Property Owners Association, Inc.) Motion for Entry

of Judgment and other papers on file in this matter. Based on the Court’s review of this

matter and the Fifth Circuit’s decision, the Court finds the evidence establishes the

elements necessary for Parkstone’s breach of contract claim, request for a permanent

injunction, and the other relief granted herein:

         IT IS THEREFORE ORDERED ADJUDGED AND DECREED that the

Court’s Judgment of February 18, 2020 is VACATED,

         IT IS FURTHER ORDERED ADJUDGED AND DECREED that the

Plaintiffs take nothing,

         IT IS ALSO ORDERED ADJUDGED AND DECREED that Plaintiffs owe

Defendant Parkstone $643.34 from the Bill of Costs approved and ordered by the Fifth

Circuit concerning the appeal,



Page 1
          Case 1:19-cv-01034-XR Document 41-2 Filed 06/23/21 Page 3 of 4




         IT IS FURTHER ORDERED ADJUDGED AND DECREED that the claims

of the Defendant for breach of contract with respect to the Revised and Restated

Declaration of Covenants, Conditions and Restrictions Parkstone P.U.D. Phase I Travis

County, Texas filed and recorded in volume 13258, page 0038 on August 31, 1998, in the

Real Property Records of Travis County, Texas (the “Declaration”) are granted and that

the Defendant have and recover its reasonable attorneys’ fees incurred in the prosecution

of its counter-claim for breach of contract (the Declaration) from Zhou and/or Du in the

amount of $6,000 as reasonable and necessary attorney’s fees; that in the event of an

unsuccessful appeal of this decision by Plaintiff(s) to the Fifth Circuit Court of Appeals

that Parkstone be awarded $8,000 as reasonable and necessary attorneys’ fees; that in

the event of an unsuccessful appeal of this decision by Plaintiff(s) to the United States

Supreme Court that Parkstone be awarded $5,000 as reasonable and necessary

attorneys’ fees, and

         IT IS FURTHER ORDERED ADJUDGED AND DECREED that Plaintiffs,

their officers, agents, guests, tenants, servants, employees, and attorneys; and all other

persons who are in active concert or participation with any of them, are prohibited from:

         Þ Allowing more than six (6) unrelated adults to live in the house on 2015

            Real Catorce, Austin, Texas 78746 (“Residence”) (this number

            includes any House Manager(s), contractors, or employees);

         Þ Violating or allowing those living in the Residence to violate the noise,

            nuisance, and other provisions of Parkstone’s Declaration or other

            dedicatory instruments; and

         Þ Parking any vehicle, motorcycle, and/or scooter on the street in the

            Parkstone community for more than 12 hours in any 24-hour period.

Page 2
          Case 1:19-cv-01034-XR Document 41-2 Filed 06/23/21 Page 4 of 4




            The Residence has off-street parking capacity for eight vehicles utilizing

            the garage and driveway. Street parking not in compliance with

            Parkstone’s dedicatory instruments is subject to enforcement by

            Parkstone according to its ordinary standards and policies.

         IT IS ORDERED that the clerk of this Court shall issue a permanent injunction

in conformity with the law and the terms of this Order.




         SIGNED on this ___ day of ______________ , 2021, at __:___o’clock ___.




                                                  ___________________________
                                                  HONORABLE XAVIER RODRIGUEZ
                                                  UNITED STATES DISTRICT JUDGE




Page 3
